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                       EXHIBIT E
FILED: NASSAU COUNTY CLERK 08/21/2024 11:27 AM                                                INDEX NO. 607805/2024
         Case
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU

          SDN LIMITED and STEVEN NERAYOFF,

                                            Plaintiffs,                     Index No. 607805/2024

                                v.

          IOV LABS LIMITED, RIF LABS LIMITED, RSK                           AFFIRMATION OF
          LABS LIMITED, DIEGO GUTIERREZ ZALDIVAR,                           SERVICE
          and ALEJANDRO MARIA ABERG COBO a/k/a ALEX
          COBO,

                                            Defendants.




                JOHN A. PISKORA, an attorney duly admitted to practice law in the Courts of the State

         of New York, affirms as follows under penalties of perjury pursuant to CPLR 2106:

                1.      I am a partner of Loeb & Loeb LLP, attorneys for Plaintiffs SDN Limited and

         Steven Nerayoff in this action. I am not a party to this action and am over 18 years of age.

                2.      On August 16, 2024, in accordance with the Hague Convention on the Service

         Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters (the “Hague

         Convention”), as applicable to Gibraltar, the undersigned attorney served a true and correct copy

         of the foregoing: (a) Summons with Notice filed in this action, dated May 3, 2024; and (b) Notice

         of Electronic Filing, upon the following:

                RSK LABS Ltd. (BVI co #1895440)
                Morgan & Morgan Bldg.
                Pasea Estate
                Road Town
                Tortola
                British Virgin Islands




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         by depositing true and correct copies thereof enclosed in a securely sealed, properly addressed,

         and fully paid international shipping envelope under the care of Federal Express.

         Dated: New York, New York
                August 21, 2024
                                                      By:
                                                            John A. Piskora (jpiskora@loeb.com)
                                                            Loeb & Loeb LLP
                                                            345 Park Avenue
                                                            New York, NY 10154
                                                            Tel: (212) 407-4000

                                                            Attorneys for Plaintiffs
                                                            SDN Limited and Steven Nerayoff




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